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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                               )
    In re                                      )                       Chapter 11
                                               )
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    TOUGH MUDDER INC., et al.,                 )                       Case No. 20-10036 (CSS)
                                               )
                     Debtors.                  )                       Joint Administration Requested
                                               )
                                               )                       RE: D.I. 30 & 33
                                               )
                                                                       Hearing Date:
                                               )                       February 25, 2020, at 1:00 p.m. (EST)
    __________________________________________ )

     SUPPLEMENTAL NOTICE OF ASSUMPTION AND ASSIGNMENT OF CERTAIN
      EVENTS AND EXECUTORY CONTRACTS AND PROPOSED CURE AMOUNTS

                PLEASE TAKE NOTICE that on January 21, 2020, an order for relief [D.I. 19]
under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) was entered with
respect to the above-captioned debtors (the “Debtors”) by the United States Bankruptcy Court
for the District of Delaware (the “Court”).

                PLEASE TAKE FURTHER NOTICE that on January 30, 2020, the Court
entered an order appointing Derek C. Abbott, Esq., as the chapter 11 trustee of the Debtors’
estates [D.I. 24].

              PLEASE TAKE FURTHER NOTICE that on February 7, 2020, the Trustee
filed the Chapter 11 Trustee’s Motion for Entry of an Order (I) Approving Entry Into and
Performance Under Asset Purchase Agreement by and Among Spartan Race, Inc., and Debtors’
Chapter 11 Trustee, (II) Authorizing the Sale of Substantially All of the Debtors’ Assets Free and
Clear of All Liens, Claims, Encumbrances, and Interests, (III) Approving the Assumption and
Assignment of Certain Contracts and Related Procedures, (IV) Approving the Bid Protections,
and (V) Granting Related Relief [D.I. 30] (the “Sale Motion”). 2

               By the Sale Motion, the Trustee seeks to sell (the “Sale”), subject to higher or
otherwise better offers, substantially all of the Debtors’ assets to Spartan Race, Inc., or its
designee (the “Buyer”), pursuant to an Asset Purchase Agreement, dated as of February 7, 2020,
by and among the Buyer and the Trustee for the benefit of the Debtors (the “Sale Agreement”),
free and clear of all liens, claims, encumbrances, and interests, and to assume and assign the
Assumed Events (as defined in the Sale Agreement) and the Assumed Contracts (as defined in

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          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845). The
Debtors’ address is 15 MetroTech Center, Brooklyn, NY 12201.
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         Capitalized terms not defined herein are used as in the Sale Motion.
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the Sale Agreement). A copy of the Sale Agreement is attached as Exhibit B to the Sale Motion.
Copies of the Sale Motion and other documents filed in the Debtors’ chapter 11 cases may be
obtained upon reasonable request to the undersigned counsel, inspected at the offices of the
Clerk of the Court during normal business hours, or downloaded from the Court’s electronic
docket at ecf.deb.uscourts.gov. Please note that prior registration with the PACER service center
and payment of a fee may be required to access such documents. Parties in interest may sign up
for a PACER account by visiting the PACER website at pacer.psc.uscourts.gov or by calling
(800) 676-6856.

               PLEASE TAKE FURTHER NOTICE that a hearing to approve the Sale (the
“Sale Hearing”), including the assumption and assignment of the Assumed Events and Contracts,
has been scheduled for February 25, 2020, at 1:00 p.m. (Eastern Standard Time) before Chief
United States Bankruptcy Judge Christopher S. Sontchi in the United States Bankruptcy Court
for the District of Delaware, 824 N. Market Street, 5th Floor, Courtroom #6, Wilmington,
Delaware 19801.

                PLEASE TAKE FURTHER NOTICE that, on February 7, 2020, the Trustee
filed and served on each non-Debtor counterparty (each, a “Non-Debtor Counterparty”) the
Notice of Assumption and Assignment of Certain Events and Executory Contracts and Proposed
Cure Amounts [D.I. 33] (including the Event Cure Schedule and Contract Cure Schedule
attached thereto, the “Assumption and Assignment Notice”). The Assumption and Assignment
Notice may be accessed free of charge upon reasonable request to the undersigned counsel,
inspected at the offices of the Clerk of the Court during normal business hours, or downloaded
from the Court’s electronic docket at ecf.deb.uscourts.gov. The deadline to object to any
proposed cure amount (the “Cure Amount”) listed in the Assumption and Assignment Notice
(collectively, the “Cure Objections”) expired on February 20, 2020, at 4:00 p.m. (EST).

                PLEASE TAKE FURTHER NOTICE that, in accordance with the procedures
outlined in the Sale Motion, the Trustee hereby files this Supplemental Notice of Assumption and
Assignment of Certain Events and Executory Contracts and Proposed Cure Amounts (together
with the Supplemental Contract Cure Schedule (as defined below), this “Supplemental
Assumption and Assignment Notice”), which attaches hereto as Exhibit A a schedule of certain
Assumed Contracts (the “Supplemental Contract Cure Schedule”), in supplement of the Contract
Cure Schedule. Upon the filing of the Supplemental Assumption and Assignment Notice, the
Contract Cure Schedule shall be deemed to include the Supplemental Contract Cure Schedule.
The Supplemental Contract Cure Schedule reflects, among other things, that certain Contract(s)
not listed on the Contract Cure Schedule have been added by the Trustee as Assumed Contracts.
The Non-Debtor Counterparty listed on the Supplemental Contract Cure Schedule has consented
to the assumption and assignment of its Contract(s) and the Cure Amount listed in the
Supplemental Contract Cure Schedule. Therefore, there is no objection deadline to this
Supplemental Assumption and Assignment Notice.

               PLEASE TAKE FURTHER NOTICE that the hearing(s) with respect to Cure
Objection(s) or objection(s) to the adequate assurance of future performance may be held (a) at
the Sale Hearing, or (b) at such other date as the Court may designate at the request of the
Trustee and the Buyer.



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                                    Proposed Counsel for Derek C. Abbott, Esq., as
                                    Chapter 11 Trustee to Tough Mudder Inc. and
                                    Tough Mudder Event Production Inc.




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